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Steven W. Myhre OCT 1 3 2017
Acting1 Unitel;l States Attorney
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Assistant United States Attorney CLEDR|§TL:{S|CQ*%TFR[§CELXSKR
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United States of America

 

 

 

 

 

 

 

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

United States of America, 2:16-CR-00070-GMN-VCF
Plaintiff,
Pretrial Diversion Agreement
v.
Charles Wurm,

Defendant.

 

 

 

 

You have been charged in a Criminal Indictment filed on March 9, 2016, in the United States
District Court for the District of Nevada, With conspiracy to commit Wire fraud and Wire fraud, in
violation of Title 18, United States Code, Sections 1349 and 1343, respectively Essentially the
indictment alleges the following:

During 2010 and mid-2011, you conspired With Curtis Pope and others to obtain protected
trade secret information from the victim company Selling Source Which engaged in selling business
leads for payday loans. At one time, Pope and other co-conspirators Worked for Selling Source.
You participated in their scheme to steal leads and to sell them to Selling Source’s competitors You

provided IT technical assistance, and you contact one competitor to discuss the availability of leads.

 

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Upon accepting responsibility for your behavior and by your signature on this Agreement, it
appearing after an investigation of the offense and your b'ackground, that the interests of the United
States and your own interests and the interests of justice Will be served by the following procedure,
on the authority of the Attomey General of the United States, by Steven W. Myhre, Acting United
States Attomey for the District of Nevada, prosecution in this District for these offenses shall be
deferred for a period of 12 months from this date, provided you abide by the following conditions
and requirements of this Agreement as set forth hereafter.

Should you violate the conditions of this Agreement, the United States Attomey may revoke
or modify any conditions of this Pretrial Diversion Program. The United States Attomey may release
you from supervision at any time. The United States Attomey may at any time within the period of
your supervision re-initiate prosecution for these offenses should you violate the conditions of this
Agreement, In such an event, your statement accepting responsibility in this matter may be used
against you. In this case, he Will furnish you With notice specifying the conditions of the Agreement
which you have violated.

After successfully completing your Pretrial Diversion Program and fulfilling all the terms
and conditions of the Agreement, no prosecution for the offenses previously set forth will be pursued
in this District, and the United States will move to have the charges against you dismissed

CONDITIONS OF PRETRIAL DIVERSION
1. You shall not violate any federal, state, or local law. You shall contact your Pretrial

Diversion Program officer within 72 hours if you are arrested and/or questioned by any law

enforcement officer.

2. You shall not possess a firearm, ammunition, destructive device, or any other dangerous
weapon.

3. You shall not associate with any persons engaged in criminal activity and shall not associate
with any person convicted of a felony, unless granted permission to do so by your Pretrial

Services Officer.

 

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10.

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You shall permit a Pretrial Services Officer to visit you at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view of the probation officer
or Pretrial Services Officer.

You shall not leave the continental United States Without the permission of the court or your
Pretrial Services Officer.

You shall report to your Pretrial Services Officer in a manner and frequency'directed by the
court or your Pretrial Services Offlcer.

You shall answer truthfully all inquiries by your Pretrial Services Officer and follow the
instructions of your Pretrial Services Officer.

You shall work regularly at a lawful occupation, unless excused by your Pretn'al Services
Officer for schooling, training, or other acceptable reasons.

You shall notify your Pretrial Services Offlcer at least ten days before you change your
residence or employment 6 C\;`}'

You shall make restitution in the amount of SlO,OOOMeVerally with Curtis Pope,
and shall make restitution in monthly payments at the rate of $833.34 payable to the
“CLERK, U.S. DISTRICT COURT.” On your check or money order you shall write your
name and case number, 2:16-cr-0070-GMN-VCF, and shall mail the payment or deliver it in
person to U.S. Clerk’s Office for the District of Nevada, Lloyd D. George Federal
Courthouse, Clerk’s Office, Room 1334, Las Vegas, Nevada, 89101, and are due by the 28th
day of every month commencing with the first month after you have completed your Pretrial

Diversion canvassing with the Court.

 

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I assert and certify that l am aware of the fact that the Sixth Amendment to the
Constitution of the United States provides that in all criminal prosecutions the accused shall
enjoy the right to a speedy and public trial. I am also aware that Rule 48(b) of the Federal Rules
of Criminal Procedure provides that the Court may dismiss an indictment, information, or
complaint for unnecessary delay in presenting a charge to the Grand Jury, filing an information
or in bringing a defendant to trial. I hereby reqth that the United States Attomey for the District
of Nevada to defer such prosecution I agree and consent that any delay from the date of this
Agreement to the date of re-initiation of prosecution or trial, as provided for in the terms
expressed herein, shall be deemed to be a necessary delay at my request, and I waive any defense
to such prosecution on the ground that such delay operated to deny my rights under Rule 48(b) of
the Federal Rules of Criminal Procedure and the Sixth Amendment to the Constitution of the _
United States to a speedy trial or to bar the prosecution by reason of the running of the statute of
limitations for a period of months equal to the period of his agreement

I hereby state that I have read the above and it has been explained to me in my native
language I understand the conditions of my Pretrial Diversion Program and agree that I will

comply with them.

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Charles Wurm, Defendant DATE
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